Case 20-71358-jwc        Doc 16     Filed 11/18/20 Entered 11/18/20 13:49:05            Desc Main
                                   Document      Page 1 of 22



                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

In Re:                                    )                   Chapter 11
                                          )
MOUNTAIN PHOENIX, LLC,                    )                   CASE NO. 20-71358-JWC
                                          )
                  Debtor.                 )
_________________________________________ )
                                          )
TRADEPORT ATLANTA, LLC,                   )
                                          )
                  Movant,                 )
                                          )                   Contested Matter
vs.                                       )
                                          )
MOUNTAIN PHOENIX, LLC,                    )
                                          )
                  Respondent.             )
__________________________________________)

                                    NOTICE OF HEARING

        PLEASE TAKE NOTICE that Tradeport Atlanta, LLC (“Movant”) has filed a Motion
for Order Modifying any Automatic Stay and Directing the Clayton County Sheriff to Continue
Eviction Proceedings to Permit Landlord to Recapture Certain Leased Premises (the “Motion for
Relief from Stay”), and related papers with the Court seeking an order granting Movant (i) relief
from any automatic stay and permitting Movant to recapture the Premises by continuing a
November 3, 2020 eviction, executing on the Writ of Possession issued August 14, 2020 or through
any other procedures authorized by the parties’ Lease and state law and to take any other act to
regain complete control of the premises located at 4345 International Parkway, Suite 150,
Hapeville, Clayton County, Georgia 30354 (but not to enforce or execute upon any monetary
judgment with respect to Debtor), (ii) waiving the stay provided in Rule 4001(a)(3), and (iii)
granting such other and further relief as the Court may deem just and proper.
        PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion
for Relief Stay in Courtroom 1203, United States Courthouse, 75 Ted Turner Drive, SW, Atlanta,
Georgia, at 10:00 A.M. on December 3, 2020. Given the current public health crisis, hearings
may be telephonic only. Please check the “Important Information Regarding Court
Operations During COVID-19 Outbreak” tab at the top of the GANB Website prior to the
hearing for instructions on whether to appear in person or by phone.
         Your rights may be affected by the court’s ruling on these pleadings. You should read these
pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy case.
(If you do not have an attorney, you may wish to consult one.) If you do not want the court to grant
the relief sought in these pleadings or if you want the court to consider your views, then you and/or

                                                 1
Case 20-71358-jwc       Doc 16     Filed 11/18/20 Entered 11/18/20 13:49:05            Desc Main
                                  Document      Page 2 of 22



your attorney must attend the hearing. You may also file a written response to the pleading with
the Clerk at the address stated below, but you are not required to do so. If you file a written
response, you must attach a certificate stating when, how and on whom (including addresses) you
served the response. Mail or deliver your response so that it is received by the Clerk at least two
business days before the hearing. The address of the Clerk's Office is Clerk, U. S. Bankruptcy
Court, Suite 1340, 75 Ted Turner Drive, Atlanta Georgia 30303. You must also mail a copy of
your response to the undersigned at the address stated below.
       If a hearing on the Motion for Relief from Stay cannot be held within thirty (30) days,
Movant waives the requirement for holding a preliminary hearing within thirty days of filing the
motion and agrees to a hearing on the earliest possible date. Movant consents to the automatic
stay remaining in effect until the Court orders otherwise.
       Respectfully submitted this 18th day of November, 2020.

                                             CAIOLA & ROSE, LLC
                                             /s/ Elizabeth B. Rose
                                             Elizabeth B. Rose
                                             Georgia Bar No. 558747
                                             elizabeth@caiolarose.com
                                             Kimberly B. Reeves
                                             Georgia Bar No. 333419
                                             kimberly@caiolarose.com

                                             Attorneys for Tradeport Atlanta, LLC

                                             125 Clairemont Ave., Suite 240
                                             Decatur, Georgia 30030
                                             (470) 300-1020 phone




                                                2
Case 20-71358-jwc        Doc 16    Filed 11/18/20 Entered 11/18/20 13:49:05           Desc Main
                                  Document      Page 3 of 22



                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

In Re:                                    )                 Chapter 11
                                          )
MOUNTAIN PHOENIX, LLC,                    )                 CASE NO. 20-71358-JWC
                                          )
                  Debtor.                 )
_________________________________________ )
                                          )
TRADEPORT ATLANTA, LLC,                   )
                                          )
                  Movant,                 )
                                          )                 Contested Matter
vs.                                       )
                                          )
MOUNTAIN PHOENIX, LLC,                    )
                                          )
                  Respondent.             )
__________________________________________)

     MOTION TO FOR AN ORDER MODIFYING ANY AUTOMATIC STAY AND
        DIRECTING THE CLAYTON COUNTY SHERIFF TO CONTINUE
             EVICTION PROCEEDINGS TO PERMIT LANDLORD
               TO RECAPTURE CERTAIN LEASED PREMISES

         Tradeport Atlanta, LLC (“Movant” or “Landlord”), pursuant to 11 U.S.C. § 362(d) and

Rule 4001 of the Bankruptcy Rules, hereby moves this Court to grant Movant stay relief and

waiver of Rule 4001(a)(3), to allow Movant to continue the November 3, 2020 eviction and to

retake possession of Movant’s real property pursuant to the terms of the parties’ lease agreement

or as otherwise permitted by state law (the “Motion”). Movant requests entry of the is order prior

to any administrative dismissal of this matter. In support of this Motion, Movant respectfully

represents as follows:

                                      INTRODUCTION

         The facts of this case are simple—Movant owns commercial property, and Mountain

Phoenix, LLC (“Debtor” or “Tenant”) and Movant entered into a commercial lease for such

                                                1
Case 20-71358-jwc        Doc 16     Filed 11/18/20 Entered 11/18/20 13:49:05             Desc Main
                                   Document      Page 4 of 22



property. Debtor failed to make timely and full rental payments almost immediately after signing

the lease; however, most recently, Movant initiated a dispossessory proceeding against Debtor on

September 17, 2019. Following Debtor’s default on a payment plan memorialized in an October

2019 consent order, the Clayton County Magistrate Court issued a Writ of Possession in favor of

Movant on December 20, 2019. Thereafter, Debtor has pulled out all the stops to try to avoid the

effect of the Writ, including filing frivolous suits and lodging unperfected appeals in three separate

courts. This bankruptcy filing and this Court is simply the latest in a long and winding road with

no apparent end other than to “squat” in Movant’s property without paying rent. In addition to

frivolous court filings, Debtor has taken full advantage of the delays caused by the COVID-19

pandemic. Debtor’s last payment of any kind was to the registry of the Clayton County Magistrate

Court on February 6, 2020. Meanwhile, Debtor/Tenant has continued to operate and profit off the

use of Movant/Landlord’s property by using the premises to house and lease ultra-high-end

vehicles including Bentleys, Porches, Ferraris, and the like.

       While Debtor’s frivolous and abusive filings have proven quite successful, given the

gridlock in state courts following the pandemic, Movant eventually obtained a second Writ of

Possession on August 14, 2020. This second Writ of Possession was issued because Georgia law

is crystal clear: to remain in possession of a premises, regardless of what issues may otherwise be

subject to litigation, a tenant must timely and fully pay rent. Absent timely, complete payment of

rent, in compliance with the lease terms, a landlord is entitled to regain possession of leased

property, while any other issues can remain subject to appeal or other litigation.

       After Movant received the long overdue Writ of Possession on August 14, 2020, Debtor

enjoyed yet another delay because the sheriff’s office had temporarily halted evictions based on

the pandemic. Finally, on November 3, 2020—eight months and twenty-eight days since



                                                  2
Case 20-71358-jwc        Doc 16      Filed 11/18/20 Entered 11/18/20 13:49:05              Desc Main
                                    Document      Page 5 of 22



Debtor/Tenant last paid anything—Movant was able to schedule the long-awaited eviction.

Roughly two-hours into the eviction, after property was placed on the curb and locks were changed

at the expense of Movant, Debtor ran to this Court and filed a pro se Chapter 11 corporate petition,

yet again forestalling Movant’s state law rights.

       As briefed by the Motion to Dismiss filed by the United States Trustee, this Chapter 11

filing was invalid, as it was signed and filed by the Debtor’s “Registered Agent” and not an

attorney or any other party with authority. 1 Nevertheless, out of respect for the automatic stay,

Landlord halted the eviction and provided a copy of the newly-minted keys to the Tenant/Debtor

so as not to control or interfere with Debtor’s property at the premises. As of the date hereof, this

pro se corporate chapter 11 case has been pending for 15 days, no schedules have been filed, no

filing fee has been paid, and no attorney of record has appeared for the Debtor. The Tenant/Debtor

has counsel. Indeed, Tenant is represented in all of its state court filings. This filing is abusive and

was orchestrated for the sole purpose of further delaying the inevitable: Landlord’s recapture of

its premises. Debtor’s plan was to halt the eviction with an intentionally defective filing knowing

that the case would quickly be dismissed for technical deficiencies and for lack of counsel.

        As set forth below, Movant is entitled to relief from stay because this is a fraudulent pro

se filing, and because there is a lack of adequate protection as evidenced by the pre-petition

issuance of the Writ of Possession, Debtor’s pre-petition frivolous litigation and other fraudulent

conduct, and the failure to pay any rent for more than eight months. This last-minute, skeletal,

invalid petition should not further stall Movant’s immediately available contractual or state law



1
  Movant reserves the right to file a motion for sanctions. Upon information and belief, Richard
Prosperous Successful, the Debtor’s “Registered Agent”, knew exactly what he was doing in filing
this pro se petition in a way that would stop the eviction, yet be subject to dismissal without any
prosecution or accountability by Debtor. Such an intentionally defective filing is an abuse of the
bankruptcy process. To allow such an outcome makes a mockery of the system.
                                                    3
Case 20-71358-jwc         Doc 16      Filed 11/18/20 Entered 11/18/20 13:49:05          Desc Main
                                     Document      Page 6 of 22



rights with respect to the leased-premises and the ability to continue the November 3, 2020

eviction. Accordingly, this Motion seeks an immediate court order modifying the stay to permit

Movant to continue the November 3, 2020 eviction, or to retake Landlord’s property in any manner

permitted by law and/or the parties’ lease contract.

                       FACTUAL AND PROCEDURAL BACKGROUND

  I.    The Lease and Debtor’s Repeated Defaults Thereunder

         1.     Movant is the owner of certain real commercial property and improvements located

at 4345 International Parkway, Suite 150, Hapeville, Clayton County, Georgia 30354 (the

“Premises”).

        2.      Movant and Debtor entered into a certain commercial lease agreement dated

February 27, 2019 (the “Lease”). (A true and correct copy of the Lease is attached as Exhibit A

and incorporated herein.)

        3.      The monthly base rental rate is $11,496.25 per month. In addition to base rent,

Debtor also owes common area maintenance (CAM), real estate taxes, management fees, and

insurance in the additional amount of $2,958.26, per month. Thus, Debtor’s total monthly rental

is $14,454.51 (the “Monthly Rental”). (See id. ¶¶ 4, 6.)

        4.      For all past-due amounts, Debtor owes late fees of 5% and all such amounts accrue

interest at the rate of 15%. (Id. ¶ 4.)

         5.     Under the Lease, Tenant was obligated to pay to Landlord monthly base rent and

additional rent “in advance, without demand, deduction or set-off . . . on or before the first day of

each calendar month.” (Id.)

         6.     Despite these clear obligations, Tenant was perpetually in default.          Indeed,




                                                 4
Case 20-71358-jwc        Doc 16     Filed 11/18/20 Entered 11/18/20 13:49:05           Desc Main
                                   Document      Page 7 of 22



Landlord initiated three dispossessory proceedings in the first six months of the Lease term. 2

    II.   The Dispossessory Proceedings and Debtor’s Subsequent Frivolous Filings

          7.    As noted above, Landlord instituted the most recent dispossessory on September

17, 2019 before the Clayton County Magistrate Court (the “September 2019 Dispossessory”). The

September 2019 Dispossessory was set for hearing by the Clayton County Magistrate Court on

October 7, 2019.

          8.    At the hearing, Landlord and Tenant entered into a Consent Judgment, requiring

Tenant was to make the following payments to Landlord on the following dates: (i) $18,937.89 on

or before October 11, 2019; (ii) $13,961.25, on or before November 11, 2019; and (iii) $13,961.25

on or before December 6, 2019 (the “Consent Judgement”). (A true and correct copy of the

Consent Judgment is attached hereto as Exhibit B and incorporated herein.)

          9.    In the event of a default, Landlord was entitled to a writ of fi.fa. for any unpaid

balance and a writ of possession instanter. (Id.)

          10.   Tenant defaulted on the first payment. Accordingly, Landlord moved for the

default judgment and writ of possession on October 16, 2020.

          11.   Already in default, Tenant made a late payment on October 23, 2019. And, on

October 24, 2019, Tenant filed a copy of the $18,937.89 cashier’s check dated October 23, 2019

into record before the Clayton County Magistrate Court. (A true and correct copy of the October

24, 2019 filing is attached hereto as Exhibit C and incorporated herein.)




2
  Landlord instituted the first dispossessory proceeding before the Clayton County Magistrate
Court on July 24, 2019, styled as Tradeport Atlanta, LLC v. Mountain Phoenix, LLC, Civil Action
File No. 2019CM19577 and Landlord instituted the second dispossessory proceeding before the
Clayton County Magistrate Court on August 22, 2019, styled as Tradeport Atlanta, LLC v.
Mountain Phoenix, LLC, Civil Action File No. 2019CM22879. These prior cases were dismissed
without prejudice after Tenant made late rental payments.
                                                    5
Case 20-71358-jwc        Doc 16      Filed 11/18/20 Entered 11/18/20 13:49:05           Desc Main
                                    Document      Page 8 of 22



         12.   The Clayton County Magistrate Court set the motion for entry of the writ of

possession and default judgment for hearing on December 20, 2019.

         13.   Richard Prosperous Successful, the very same “Registered Agent” who signed the

bankruptcy petition, appeared on behalf of the Tenant at the December 20, 2019 hearing.

         14.   The Clayton County Magistrate Court found that Movant was entitled to a writ of

possession instanter based on the undisputed default on the payment terms of the Consent

Judgment. 3

         15.   The default was evidenced by Tenant/Debtor’s filing of the late-payment into the

record before the Clayton County Magistrate Court, which clearly evidenced a default of the

payment terms.

         16.   However, in addition to issuing the Writ of Possession based on the undisputed

default of the payment terms of the Consent Judgment, the Clayton County Magistrate Court also

entered a default based on an additional (and unnecessary) finding that a registered agent is not

qualified to represent a tenant in magistrate court. 4

         17.   Thus, for the foregoing reasons, on December 20, 2019, the Clayton County

Magistrate Court issued a Writ of Possession. (True and correct copies of the December 20, 2019




3
  Landlord did not seek any monetary judgment because, at that stage, the only payment then due
had been made, albeit late. The parties’ Lease and Georgia law are crystal clear that a commercial
lease contract may provide for termination of the right of possession without terminating a
commercial tenant’s obligation to pay rent. See Ex. A ¶ 24(a), (c). Such provisions have been
enforceable under Georgia law for more than thirty years. See Am. Med. Transp. Grp., Inc. v. Glo-
An, Inc., 235 Ga. App. 464, 466 (1998); accord Hardin v. Macon Mall, 169 Ga. App. 793, 793
(1984).
4
  By statute, fictive entities are not required to retain counsel in Magistrate Court, as they are in
other state courts or federal courts. Fictional entities can appear through employees. O.C.G.A. §
15-10-43(i).
                                                   6
Case 20-71358-jwc        Doc 16     Filed 11/18/20 Entered 11/18/20 13:49:05             Desc Main
                                   Document      Page 9 of 22



Default Judgment on Consent Order and Writ of Possession are attached hereto as combined

Exhibit D and incorporated herein.)

        18.    On January 17, 2020, Debtor, with the assistance of attorney G. Anthony Hall, filed

a Petition for Writ of Certiorari to the Clayton County Superior Court, arguing that the Clayton

County Magistrate Court erred in entering the December 20, 2019 Writ of Possession by default

because Richard Prosperous Successful was qualified to represent the Tenant/Debtor at the

December 20, 2019 Magistrate Court hearing. (the “Putative Certiorari Proceeding”). (A true and

correct copy of the Amended Petition for Writ of Certiorari is attached hereto as Exhibit E and

incorporated herein.)

        19.    Of course, Tenant/Debtor could not argue that it timely made the payment required

under the parties’ Consent Judgment, because the late-payment and default was evidenced by the

cashier’s check Tenant/Debtor filed into the record before the Clayton County Magistrate Court.

        20.    At the time Debtor/Tenant filed the Putative Certiorari Proceeding, Debtor/Tenant

paid January 2020’s rent into the court’s registry, which is required by Georgia law if a tenant

wishes to remain in possession of leased premises through the pendency of any sort of appeal.

See O.C.G.A. §§ 44-7-56; 44-7-54.

       21.     The Putative Certiorari Proceeding was procedurally defective in the following

respects: (i) Debtor never obtained an actual writ of certiorari, as required to maintain such an

action; (ii) Landlord and defendant-in-certiorari were never served with a writ of certiorari, which

is required for proper service of such a proceeding; and (iii) Debtor never obtained the certification

from the Magistrate Court judge issuing the order. As a result of these defects, the Putative

Certiorari Proceeding was void. City of Sandy Springs Bd. of Appeals v. Traton Homes, LLC, 341

Ga. App. 551, 552, 801 S.E.2d 599, 601–02 (2017).



                                                  7
Case 20-71358-jwc       Doc 16    Filed 11/18/20 Entered 11/18/20 13:49:05             Desc Main
                                 Document      Page 10 of 22



        22.    Moreover, there was no legal error to correct as the undisputed evidence, ie., the

cashier’s check filed by the Tenant/Debtor demonstrated Debtor had defaulted under the terms of

the October 17, 2019 Consent Order.

        23.    Accordingly, Landlord moved to dismiss the Putative Certiorari Proceeding on or

about February 3, 2020. (A true and correct copy of the Motion to Dismiss the Putative Certiorari

Proceeding is attached hereto as Exhibit F and incorporated herein.) Notably, Debtor/Tenant did

not even bother to respond to the Motion to Dismiss the Putative Certiorari proceeding within the

thirty-days required by Georgia law.

        24.    On or about the same date Debtor initiated the Putative Certiorari Proceeding—

again with the assistance of attorney Hall—Debtor filed a complaint for “Breach of Contract,

Damages, Interlocutory Injunction, Permanent Injunction, and All other Relief” in the Superior

Court of Gwinnett County (the “Gwinnett Suit”). (A true and correct of the Complaint initiating

the Gwinnett Suit is attached hereto as Exhibit G and incorporated herein.)

        25.    In the Gwinnett Suit, Tenant/Debtor sought to enjoin the Clayton County Sheriff

from evicting Debtor/Tenant from the Premises, which was clearly authorized by the Writ of

Possession issued December 20, 2019. In addition, Tenant/Debtor sought damages for breach of

contract, despite the fact that Debtor/Tenant was the party in breach of the Lease and the Consent

Judgment. Tenant based its request for damages on a completely erroneous premises that Landlord

could not collect rent after terminating Tenant/Debtor’s right of possession, notwithstanding clear

Lease terms and clear controlling law to the contrary. (See Ex. A ¶ 24(a), (c).) Indeed, Georgia

courts have enforced commercial lease provisions allowing for collection of rent after terminating

a tenant’s right of possession for more than thirty years. See Am. Med. Transp. Grp., Inc. v. Glo-




                                                8
Case 20-71358-jwc        Doc 16    Filed 11/18/20 Entered 11/18/20 13:49:05            Desc Main
                                  Document      Page 11 of 22



An, Inc., 235 Ga. App. 464, 466 (1998); accord Hardin v. Macon Mall, 169 Ga. App. 793, 793

(1984).

          26.   Accordingly, Movant/Landlord moved to dismiss all of the claims. (A true and

correct copy of the Motion to Dismiss the Gwinnett Suit is attached hereto was Exhibit H and

incorporated herein.)

          27.   On or about February 4, 2020, the Gwinnett County Superior Court held a hearing

on Debtor/Tenant’s request for injunctive relief. The Gwinnett County Superior Court considered

the briefing and the arguments of counsel, and denied Tenant/Debtor’s request for injunctive relief

and dismissed its equitable claims for relief based on controlling authority and the clear Lease

terms (The “Order of Dismissal”). (A true and correct copy of the Order of Dismissal is attached

hereto as Exhibit I and incorporated herein.)

          28.   Notably, the Order of Dismissal stated in part: “The Complaint is clear that Tenant

breached the parties’ Consent Order. The Lease provides that Landlord can terminate Tenant’s

right of possession without terminating Tenant’s obligation to pay rent.” (Id. at 5.) The court

further noted that such lease provisions are enforceable under Georgia law. (Id.)

          29.   The Gwinnett Superior Court ordered that it would rule on the dismissal of the

remaining claims once the matter was fully briefed. (Id. at 6.)

          30.   Here again, Debtor/Tenant never even bothered to respond to the remaining issues

raised in the Motion to Dismiss the Gwinnett Suit. As a result, that Motion to Dismiss remains

unopposed, but pending.

          31.   Instead, Debtor/Tenant, with the assistance of attorney Hall, filed a Notice of

Appeal of the denial of equitable relief and dismissal of those claims on February 29, 2020.




                                                 9
Case 20-71358-jwc         Doc 16     Filed 11/18/20 Entered 11/18/20 13:49:05                Desc Main
                                    Document      Page 12 of 22



         32.    However, that appeal was also defective. It was never docketed and sent to the

Georgia Court of Appeals because Debtor/Tenant did not bother to pay the appeal fee. Thus, that

inchoate appeal constitutes the third court filing.

         33.    In the intervening months while the Putative Certiorari Proceeding remained

pending, Debtor/Tenant late-paid the February 2020 rent into the court’s registry.

         34.    No further rent payments were made to the court registry or to Movant/Landlord

despite Debtor continuing to operate at the Premises.

         35.    As noted earlier, by statute, the rent payments had to be made on or before the first

of each month if Tenant/Debtor wished to remain in possession of the Premises during the

pendency of the Putative Certiorari Proceeding.

         36.    During this same time, Debtor/Tenant’s deadline to respond to Landlord/Movant’s

Motion to Dismiss the Putative Certiorari Proceeding expired on March 9, 2020.

         37.    Thus, the Motion to Dismiss the Putative Certiorari Proceeding was also unopposed

and ripe for decision after March 9, 2020. 5

         38.    The time-period for Debtor/Tenant to traverse the defendant-in-certiorari’s answer

had likewise expired. Debtor/Tenant had never bothered to respond to that filing, either.

III.    Debtor Takes Advantage of the Pandemic and Resulting Judicial Emergency to Squat

         39.    The Clayton County Superior Court was set to hold a hearing on

Landlord/Movant’s unopposed Motion to Dismiss the Putative Certiorari Proceedings on March

24, 2020. Before that hearing could take place—but weeks after the March rent was due to the



5
  Oddly, on August 10, 2020, months after the response deadline (which accrued in advance of the
Georgia Judicial Emergency imposed on March 14, 2020), Debtor/Tenant’s counsel, Hall, filed a
late opposition Arguing incorrectly and in clear contradiction of controlling authority that the
defect is amendable at this late stage. The law is clear, the time period to obtain the writ of certiorari
expired January 20, 2020.
                                                   10
Case 20-71358-jwc        Doc 16    Filed 11/18/20 Entered 11/18/20 13:49:05             Desc Main
                                  Document      Page 13 of 22



court’s registry and weeks after the Motion to Dismiss the Putative Certiorari Proceeding was

ripe—on March 14, 2020, the Georgia Supreme Court issued a statewide judicial emergency,

which suspended all but essential functions.

          40.   Thereafter, the Clayton County Superior Court refused to rule on the fully ripe

Motion to Dismiss the Putative Certiorari Proceeding, or take any other action, unless

Debtor/Tenant would consent to a remote hearing.

          41.   Of course, Debtor/Tenant refused to consent to a remote hearing, as the delay

allowed Debtor/Tenant to continue to squat in the Premises rent-free as a result of the Clayton

County Superior Court’s refusal to take action.

    IV.      The Re-Issued Writ of Possession

          42.   Debtor/Tenant continued to squat in the Premises without paying any rent for the

months of April, May, and June (again, no rent has been paid since February, while Debtor

somehow maintains a stable of luxury vehicles).

       43.      As set out above, Georgia law is clear on this issue. If a tenant wishes to remain in

possession of lease premises during an appeal of a writ of possession, the tenant must pay rent in

accordance with the lease terms. O.C.G.A. §§ 44-7-56; 44-7-54; Vinings Jubilee Partners, Ltd.

v. Vinings Dining, Inc., 266 Ga. App. 34, 37, 596 S.E.2d 209, 212 (2004) (finding trial court erred

in refusing to issue writ of possession where the tenant made a partial payment “based on a good

faith estimate”).

       44.      Georgia law is also clear that when a tenant fails to comply with that statutory

requirement the lower court may reissue the writ of possession. Hyman v. Leathers, 168 Ga. App.

112, 113, 308 S.E.2d 388, 390 (1983) (noting where the tenant fails to pay rent into court registry

as ordered by lower court, lower court can enter order giving landlord immediate right of



                                                  11
Case 20-71358-jwc        Doc 16    Filed 11/18/20 Entered 11/18/20 13:49:05             Desc Main
                                  Document      Page 14 of 22



possession); Howington v. W. H. Ferguson & Sons, Inc., 147 Ga. App. 636, 637, 249 S.E.2d 687,

689 (1978) (finding trial court was the proper court to issue the writ of possession for non-payment

of writ, not appellate court).

        45.     Accordingly, Movant/Landlord filed a motion in the Clayton County Magistrate

Court (the court that originally issued the December 20, 2019 Writ of Possession) asking that court

to reissue the Writ of Possession based Debtor/Tenant’s failure to pay any rent during the pendency

of its Putative Certiorari Proceeding, in clear violation of Georgia law (the “Motion to Reissue

Writ”). (A true and correct copy of the Motion to Reissue Writ is attached hereto as Exhibit J and

incorporated herein.)

        46.     That motion was filed and served on Debtor/Tenant’s attorney, Mr. Hall, on June

5, 2020.

        47.     Debtor/Tenant did not respond.

        48.     Likely as a result of pandemic-related delays, the Clayton County Magistrate Court

did not reissue the Writ of Possession until two months later. On August 14, 2020 the Clayton

County Magistrate reissued the Writ of Possession in favor of Movant/Landlord (the “August 14

Writ of Possession”). (A true and correct copy of the August 14 Writ of Possession is attached

hereto as Exhibit K and incorporated herein.)

        49.     At that stage, however, the Clayton County Sheriff’s Department had halted

evictions as a result of the pandemic.

        50.     Meanwhile, throughout all of these months, Debtor/Tenant continued to operate out

the Premises and house its luxury cars there, all without paying any rent whatsoever.

     V. The Thwarted Eviction and Fraudulent Bankruptcy Filing

        51.     Finally, the long overdue eviction was scheduled to take place on Tuesday,



                                                 12
Case 20-71358-jwc        Doc 16    Filed 11/18/20 Entered 11/18/20 13:49:05              Desc Main
                                  Document      Page 15 of 22



November 3, 2020.

       52.      That morning, Landlord/Movant hired a locksmith, a moving crew, and the sheriff

to conduct the eviction in accordance with the August 14 Writ of ‘Possession and Georgia law.

       53.      Roughly two hours into the eviction, Richard Prosperous Successful ran to this

Court and filed the skeletal, pro se petition for relief as “Registered Agent.”

       54.      Of course, the Debtor/Tenant has counsel. Mr. Hall is representing Debtor/Tenant

is no fewer than three courts. There was no reason to file this pro se Chapter 11 unless the intention

was solely to abuse the bankruptcy process to halt the in-progress eviction.

       55.      In addition, Mr. Successful is no stranger to the bankruptcy process. Upon

information and belief, he has had four personal bankruptcies under this prior name, Rico M.

Pearson. 6

       56.      The fact that no bankruptcy purpose underpinned this filing is further evidenced by

the fact that in the intervening weeks no filing fee has been paid, no schedules have been filed, no

list of creditors has been filed, and no counsel has appeared for Debtor, and Debtor has not

corrected its other numerous filing deficiencies.

       57.      This filing was purposefully orchestrated to result in a swift dismissal without any

consequences.

       58.      Thus, despite the clear termination of Debtor’s possessory interest, Debtor’s

Chapter 11 filing has temporarily allowed Debtor to again continue its operations at the Premises

and remain in possession of the Premises in violation of the parties’ lease and Georgia law.




6
 These filings are 07-68526-JB; 13-70383-MHM; 13-75819-LRC, and 16-52075-LRC; see also
Gwinnett Daily Post article advertising Mr. Pearson’s name change to Richard Prosperous
Successful, attached hereto as Exhibit L and incorporated herein. Mr. Hall assisted Pearson a/k/a
Successful with that name change.
                                                 13
Case 20-71358-jwc        Doc 16    Filed 11/18/20 Entered 11/18/20 13:49:05              Desc Main
                                  Document      Page 16 of 22



       59.     Because Debtor’s possession of the Premises terminated under Georgia law prior

to the Bankruptcy filing, Debtor has no rights to the Premises that it could use in any reorganization

effort. In addition, the Debtor’s failure to pay any rent for more than eight months and Debtor’s

conduct in filing unperfected, frivolous appeals, all demonstrate that Movant cannot be adequately

protected. Hence, the last-minute filing should not further prejudice Movant’s immediately

available contractual and state law rights.

       60.     Movant should be entitled to obtain this relief and an order in its favor before any

administrative dismissal.

                                     RELIEF REQUESTED

       61.     This Motion seeks an immediate court order modifying the stay to permit Movant

to recapture possession of the Premises by continuing the November 3, 2020 eviction, or by any

other remedy available under the Lease, which explicitly includes altering the locks and depriving

Debtor of access thereto, as permitted by law.

       62.     Such relief is warranted as set forth in more detail below because Debtor has no

right to remain in possession the Premises and Movant has been unduly prejudiced and denied its

contractual and state law right to expediently regain possession of the Premises. Through this

Motion, Movant does not seek to enforce or execute upon any monetary judgment with respect to

Debtor, but only to recapture the Premises by executing upon the August 14 Writ of Possession,

continuing the November 3, 2020 eviction, or through any procedures permitted by the Lease and

the law.

       63.     Prior to the November 3, 2020 petition date, the December 20, 2019 Magistrate

Court Judgment and Writ of Possession terminated any possessory rights at the Premises held by

the Debtor. That termination was re-affirmed by the August 14 Writ of Possession.



                                                 14
Case 20-71358-jwc        Doc 16    Filed 11/18/20 Entered 11/18/20 13:49:05             Desc Main
                                  Document      Page 17 of 22



       64.     Debtor never perfected its Putative Certiorari Proceedings and, even if it had,

Debtor’s right to remain in possession of the Premises during the pendency of that Putative

Certiorari is strictly and unequivocally conditioned upon Debtor’s payment of rent as it accrues

under the Lease. See O.C.G.A. §§ 44-7-54; 44-7-56.

       65.      Accordingly, the Clayton County Magistrate Court re-issued the August 14 Writ

of Possession, directing the Clayton County Sheriff to evict Debtor from the Premises. That

eviction was well underway when Debtor filed this defective, skeletal, pro se petition in this Court.

       66.     Debtor’s pattern and practice of frivolous court filings and failure to pay any rent

whatsoever while continuing to use Movant’s Premises to house luxury automobiles, along with

Debtor’s failure to pay the filing fee of $1,717.00 and Debtor’s failure to retain counsel, further

evidence that Movant is not adequately protected.

       67.     In fact, Debtor owes Movant an outstanding balance well in excess of $150,000.00,

exclusive of late fees, interest, and legal fees. In addition, Debtor also owes Movant costs in an

amount yet to be determined for the interrupted eviction.

                               ARGUMENT AND AUTHORITY

   A. Immediate stay relief is warranted prior to any administrative dismissal because
      Movant has a Writ of Possession and Debtor has no right to possess the Premises.

       68.     The automatic stay generally protects all of Debtor’s legal and equitable interest in

property. 11 U.S.C. §§ 362(a) and 541(a).

       69.     Section 362(d)(1) of the Bankruptcy Code provides that the Court shall terminate

or otherwise modify the automatic stay “for cause.” 11 U.S.C. § 362(d)(1). The Bankruptcy Code

does not, however, define “cause,” and, as a result, the decision to lift the automatic stay is to be




                                                 15
Case 20-71358-jwc        Doc 16    Filed 11/18/20 Entered 11/18/20 13:49:05               Desc Main
                                  Document      Page 18 of 22



determined at the Court’s discretion on a case-by-case basis as to what defines adequate protection.

Disciplinary Bd. v. Feingold (In re Feingold), 730 F.3d 1268, 1277 (11th Cir. 2013).

       70.     Here, Debtor’s refusal to surrender possession of the Premises and the failure to

pay rent for nearly a year following the issuance of the December 20, 2019 Magistrate Court Order

and the re-issued August 14 Writ of Possession, expose Movant to risk beyond any monetary sum

payable post-petition. Accordingly, the stay should be modified to allow Movant to immediately

retake possession of the Premises through eviction or lock-out because Movant cannot be

adequately protected.

       71.     Georgia’s Dispossessory Act was designed to provide landlords, such as Movant,

with a speedy adjudication on the merits of their claims for possession of property.

       72.     Section 44-7-53(b) of the Dispossessory Act states that “[e]very effort should be

made by the trial court to expedite a trial of the issues.” In Queen v. Harrell, the Georgia Supreme

Court stated that “[i]t is the purpose of [the Dispossessory Act] to afford the parties a speedy trial

on the merits.” 126 Ga. App. 122, 122, 190 S.E.2d 160, 160 (1972).

       73.     Debtor took advantage of frivolous filings in three different states courts, the

COVID-19 pandemic, and now this Court, to remain in possession of the Premises for eight months

without paying any rent whatsoever.

       74.     Debtor’s fraudulent filing is the latest attempt to interfere with Movant’s state law

rights by thwarting the already underway eviction.

       75.     Debtor’s eleventh-hour petition filed with this Court is simply the latest in a series

of delay tactics intended (and thus far succeeding) in denying Movant its contractual and state law

right to regain possession of the Premises as a result of Debtor’s failure to pay rent.




                                                 16
Case 20-71358-jwc         Doc 16    Filed 11/18/20 Entered 11/18/20 13:49:05            Desc Main
                                   Document      Page 19 of 22



       76.     Immediate action is warranted under these circumstances, and this Court should not

condone Debtor’s efforts to abuse the bankruptcy process to delay and derail what is supposed to

be an expedited proceeding. Instead, this Court should immediately grant stay relief.

       77.     Without granting Movant immediate relief, Movant is unduly prejudiced by

Debtor’s delay tactics.

   B. Immediate stay relief is warranted because Debtor has no equity in the Premises and
      Debtor is unable to cure its Pre-petition defaults or fulfill is post-petition obligations.

       78.     Section 362(d)(2) of the Bankruptcy Code provides that the Court shall grant relief

from stay if both the debtor has no equity in the property and such property is not necessary to an

effective reorganization.

       79.     “The burden of proof on the question of a debtor’s lack of equity in property lies

with the movant.” In re Nittolo, 11-14070-WHD, 2012 WL 1940577, at *2 (Bankr. N.D. Ga. Mar.

16, 2012) (citing 11 U.S.C. § 362(g)(1)).

       80.     The Debtor (or other party opposing the motion) has the burden “as to all other

issues in connection with a motion for relief from the automatic stay.” Id.

       81.     As a result of the December 20, 2019 Magistrate Court Order and re-issued August

14 Writ of Possession, Debtor has no possessory rights under the Lease.

       82.     The law is clear that an estate has no more rights or interest in a property than the

debtor held on the petition date. Id. at *3.

       83.     Since Debtor lacks any possessory interest in the Property, Debtor has no equity in

the Property, and Movant has satisfied its burden of proof with respect to Section 362(d)(2)(A).

       84.     Next, Debtor cannot satisfy its burden of proof as to Section 362(d)(2)(B).




                                                17
Case 20-71358-jwc            Doc 16    Filed 11/18/20 Entered 11/18/20 13:49:05         Desc Main
                                      Document      Page 20 of 22



        85.     Even if Debtor has the legal ability to assume the Lease following the issuance of

the December 20, 2019 Magistrate Court Order and re-issued August 14 Writ of Possession, which

Movant does not concede, there is no evidence that Debtor could successfully assume the Lease.

        86.     As noted earlier, Debtor failed to pay any rent since the February 2020 late-payment

into the court’s registry.

        87.     And, Section 365(b)(1) requires the Debtor to: (1) cure, or provide adequate

assurance that the Debtor will promptly cure any default, (2) compensate, or provide adequate

assurance that the Debtor will promptly compensate, Movant for the actual pecuniary loss resulting

from the default, and (3) to provide adequate assurance of future performance under the lease. 11

U.S.C. § 365(b)(1)(A)-(C).

        88.     Here, the Debtor owes Movant an outstanding balance that exceeds $150,000.00,

exclusive of late fees, interest, attorneys’ fees and costs, as well as the amounts Movant was forced

to incur after the eviction had to be halted mid-stream based on Debtor’s bankruptcy filing. Thus,

there has been no prompt cure of the default and there is no indication that Debtor will have a

future ability to perform under the Lease.

        89.     Absent stay relief, Movant is unduly prejudiced by Debtor’s delay tactics where

Debtor has no right to possess the Premises or ability to use the Premises to reorganize.

        90.     The Court should award Movant this relief prior to any administrative dismissal of

this case.

                                           CONCLUSION

        WHEREFORE, Movant respectfully requests entry of the Order: (i) granting Movant relief

from the automatic stay and permitting Movant to resume the November 3, 2020 interrupted

eviction and recapture the Premises by executing on the August 14 Writ of Possession, or through


                                                 18
Case 20-71358-jwc       Doc 16    Filed 11/18/20 Entered 11/18/20 13:49:05             Desc Main
                                 Document      Page 21 of 22



any other procedures authorized by the Lease and state law, and to take any other act to regain

complete control of the Premises (but not to obtain, enforce or execute upon any monetary

judgment with respect to Debtor), (ii) waiving the stay provided in Rule 4001(a)(3), (iii) and this

Order should be entered prior to any administrative dismissal; as well as (iv) granting such other

and further relief as the Court may deem just and proper.

       Respectfully submitted this 18th day of November, 2020.

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                                                19
Case 20-71358-jwc       Doc 16    Filed 11/18/20 Entered 11/18/20 13:49:05            Desc Main
                                 Document      Page 22 of 22



                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 18, 2020, I electronically filed the foregoing Motion for

Entry of an Order Granting Modification of the Automatic Stay and Notice of Hearing, which

provided notice to the following parties by the Court’s electronic filing system:

       Thomas Wayne Dworschak
       Office of the U. S. Trustee
       Room 362
       75 Ted Turner Drive, SW
       Atlanta, GA 30303
       (404) 331-4437
       Email: thomas.w.dworschak@usdoj.gov

In addition, I have served a copy of the foregoing by Federal Express overnight to:

Mountain Phoenix, LLC
Suite 150
4345 Int'l Pkwy
Atlanta, GA 30354

Attn: BMW Bank of North America Department
AIS Portfolio Services, LP
4515 N Santa Fe Ave. Dept. APS
Oklahoma City, OK 73118

Attn: BMW Financial Services NA, LLC Department
AIS Portfolio Services, LP
4515 N Santa Fe Ave. Dept. APS
Oklahoma City, OK 73118

And by USPS Priority Mail to:

Americredit Financial Services, Inc. dba GM Financial
PO Box 183853
Arlington, TX 76096

       Respectfully submitted this 18th day of November, 2020.

                                              CAIOLA & ROSE, LLC

                                              /s/ Elizabeth B. Rose
                                              Elizabeth B. Rose


                                                20
